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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                             Case No. 21-cv-23025-BLOOM/Otazo-Reyes

  FRUGALITY INC.,

          Plaintiff,

  v.

  THE INDIVIDUALS, PARTNERSHIPS,
  AND UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE “A,”

        Defendants.
  ______________________________________/

              FINAL DEFAULT JUDGMENT AND PERMANENT INJUNCTION

          THIS CAUSE is before the Court upon Plaintiff’s Motion for Entry of Final Judgment by

  Default as to Defendants numbered 2, 4-6, 8, 9, 11, 15-19, 21, 22, 24-26, 28-30, 32, 33, 35, 40, 41,

  44-46, 48-52, 54-56, 58, 60-66, 68, 69, 72-82, 84-91, 93, 94, 98-99, 101-114, 116-120, 122-134,

  137, 139, 142-146, 148-178, 180, 181, 183-190, 192-194, 197, 198, 200, 203, 204, 206-209, 211,

  215, 216, 219, 220, 222-225, 236, 237, 240, 248, 249, 253, 254, 256, 257, 259, 261, 265, 266, 269,

  271, 274, 276, 277, 278, 281, 283, 287, 289, 291, 294, 296, 301-303, 305, 306, 313, 324, 338, 340,

  341, 344, 347, 348, 352-354, 356, 357, 360, 363, 365, 367-371, 374, 376, 382-386, 388, 397, 402-

  404, 406, 410, 419, 421, 422, 424, 426, 433, 437, 441, 458, 485, 486, 490, 491, 494, 496, 501-504,

  508, 510, 511, 517, 518, 520-523, 526-528, 530, 531, 537, 538, 540, 541, 543, 546, 549-552, 555-

  560, 562-564, 568, 570-578, 582, 583, 585-595, 597-604, 606-609, 615, and 625 (collectively,

  “Defaulting Defendants”). See ECF No. [194] (“Motion”).1



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   After the filing of Plaintiff’s Motion, the Court dismissed Defendants numbered 59, 92, 97, 195, 199, 238,
  263, 268, 282, 286, 288, 290, 292, 295, 297, 308, 332, 411, and 512. See ECF Nos. [198], [205], [208],
  [210]. This Final Default Judgment and Permanent Injunction do not apply to the dismissed Defendants.
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         Accordingly, it is ORDERED AND ADJUDGED as follows:

         Judgment is hereby entered in favor of Plaintiff FRUGALITY, INC. (“Frugality” or

  “Plaintiff”) and against Defaulting Defendants, and Frugality is granted relief as follows:

         1. Permanent Injunctive Relief:

                 a) Each Defaulting Defendant listed on Schedule A attached hereto, its officers,

                     directors, employees, agents, subsidiaries, distributors, and all persons in active

                     concert or participation with any Defaulting Defendant having notice of this

                     Order are hereby permanently restrained and enjoined:

                         i. From manufacturing, importing, advertising, promoting, offering to

                            sell, selling, distributing, or transferring any products bearing the

                            SECRET XPRESS CONTROL Mark, or any confusingly similar

                            trademarks, other than those actually manufactured or distributed by

                            Plaintiff; and

                        ii. From secreting, concealing, destroying, selling off, transferring, or

                            otherwise disposing of: (i) any products, not manufactured or distributed

                            by Plaintiff, bearing and/or using the SECRET XPRESS CONTROL

                            Mark, or any confusingly similar trademarks; or (ii) any evidence

                            relating to the manufacture, importation, sale, offer for sale, distribution,

                            or transfer of any products bearing and/or using the SECRET XPRESS

                            CONTROL Mark, or any confusingly similar trademarks; or (iii) any

                            assets or other financial accounts subject to this Order, including

                            inventory assets, in the actual or constructive possession of, or owned,

                            controlled, or held by, or subject to access by, any Defaulting




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                       Defendant, including, but not limited to, any assets held by or on behalf

                       of any Defaulting Defendant;

             b) Each Defaulting Defendant, its officers, directors, employees, agents,

                subsidiaries, distributors, and all persons in active concert or participation with

                any defendant having notice of this Permanent Injunction shall immediately and

                permanently discontinue the use of the SECRET XPRESS CONTROL Mark,

                or any confusingly similar trademarks, on or in connection with all Internet

                based e-commerce stores owned and operated, or controlled by them, including

                the Internet based e-commerce stores operating under the Seller IDs. This Order

                is limited to the Defaulting Defendants’ listings using the SECRET XPRESS

                CONTROL Mark, or any confusingly similar trademarks, on or in connection

                with all Internet based e-commerce stores owned and operated, or controlled by

                them, including the Internet based e-commerce stores operating under the Seller

                IDs, and does not apply to the Defaulting Defendants’ entire e-commerce stores.

             c) Each Defaulting Defendant, its officers, directors, employees, agents,

                subsidiaries, distributors, and all persons in active concert or participation with

                any Defaulting Defendant having notice of this Preliminary Injunction shall

                immediately and permanently discontinue, the use of the SECRET XPRESS

                CONTROL Mark, or any confusingly similar trademarks, within domain name

                extensions, metatags or other markers within website source code, from use on

                any webpage (including as the title of any web page), from any advertising links

                to other websites, from search engines’ databases or cache memory, and any

                other form of use of such terms that are visible to a computer user or serves to




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                  direct computer searches to Internet based e-commerce stores registered,

                  owned, or operated by any Defaulting Defendant, including the Internet based

                  e-commerce stores operating under the Seller IDs.

              d) Defaulting Defendants and all financial institutions, payment processors, banks,

                  escrow services, money transmitters, or marketplace platforms, including but

                  not limited to, Alibaba.com Hong Kong Limited, which operates the

                  AliExpress.com platform (“AliExpress”), Zhejiang Ant Small and Micro

                  Financial Services Group Co., Ltd. (“Ant Financial Services”), AliPay (China)

                  Internet Technology Co. Ltd., Alipay.com Co., Ltd., and Alipay Singapore E-

                  Commerce Private Limited (collectively, “Alipay”), Amazon Payments, Inc.

                  (“Amazon”), Dunhuang Group which operates the DHgate.com and

                  DHPay.com platforms, Camel FinTech Inc, ContextLogic, Inc., which operates

                  the Wish.com website (“ContextLogic”), PayPal, Inc. (“PayPal”), eBay, Inc.

                  (“eBay”), Payoneer, Inc. (“Payoneer”), NewEgg Commerce, Inc. (“NewEgg”),

                  WorldFirst UK Limited (“WorldFirst”), or PingPong Global Solutions Inc.

                  (“PingPong”), Joom, SIA (Latvia) (“Joom”), Stripe, Inc. and/or Stripe

                  Payments Company (“Stripe”) and their related companies and affiliates on

                  which this Court imposed restraints under the Preliminary Injunction are

                  ordered to apply the funds restrained to satisfy the monetary judgments.

       2. Trademark Counterfeiting and Infringement as to all Defaulting Defendants:

              a) Statutory damages of $100,000.00 in favor of Plaintiff against each Defaulting

                  Defendant pursuant to 15 U.S.C. § 1117(c), for which let execution issue.

       3. Attorney’s Fees and Costs of Suit as to all Defaulting Defendants, jointly and severally,




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               for which let execution issue:

                  a) For reasonable attorney’s fees: $129,762.50; and

                  b) For costs: $402.00.

         4. Release of bond:

                  a) The bond posted by Plaintiff in the amount of $10,000.00 is ordered to be

                      released by the Clerk.

         5. The Court orders execution to issue for this judgment.

         6. The Court denies all relief not granted in this judgment.

         7. This is a FINAL JUDGMENT.

         DONE AND ORDERED in Chambers at Miami, Florida, on March 8, 2022.




                                                         ________________________________
                                                         BETH BLOOM
                                                         UNITED STATES DISTRICT JUDGE

  Copies to:

  Counsel of Record




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